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 7                                      UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9                                                  FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
12    ROZWADOWSKI and DIANA WOLFE,                                   Case No. 1:09-cv-00430-AWI EPG
      individually and on behalf of themselves and all
13    others similarly situated,
                                                                     CLASS ACTION
                                       Plaintiffs,
14    v.
                                                                     [PROPOSED] ORDER GRANTING
                                                                     PLAINTIFFS’ REQUEST TO SEAL
15    DAIRYAMERICA, INC., and CALIFORNIA                             DOCUMENTS AND FILE REDACTED
      DAIRIES, INC.                                                  VERSIONS
16                             Defendants
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                 This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and
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      File Redacted Versions (“Request”) pursuant to Civil Local Rules 140 and 141.
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                 Upon consideration of the Request, the papers submitted in support thereto, and good
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      cause appearing, the Request will be granted.1
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                 Accordingly, IT IS HEREBY ORDERED that:
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      1.         Plaintiffs are permitted to file redacted versions of Plaintiffs’ Memorandum in Support of
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                 Motion For Leave To File Fourth Amended Consolidated Class Action Complaint
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      1
          The Court notes that a stipulated protective order was approved by the Magistrate Judge in April 2013. See Doc.
28
          No. 129.
      [1:09-cv-00430-AWI (EPG)] [PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED
      VERSIONS
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 1             (“Memorandum”) and Plaintiffs’ [Proposed] Fourth Amended Consolidated Class Action

 2             Complaint, which is attached as Exhibit A to the Memorandum, on the public docket, and

 3             Plaintiffs   will    email     the     unredacted      versions     of    the    documents       to

 4             ApprovedSealed@caed.uscourts.gov for filing under seal; and

 5    2.        Only the parties’ counsel of record, the Court and its staff shall have access to the

 6             unredacted documents.

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 8    IT IS SO ORDERED.

 9    Dated:    February 10, 2017
                                                       SENIOR DISTRICT JUDGE
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      [1:09-cv-00430-AWI (EPG)] [PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED
      VERSIONS                                                                                                    1
